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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                      )
  In re                               )                    Chapter 11
                                      )
  RS FIT NW LLC,                      )                    Case No.: 20-11568 (TMH)
                                      )
             Debtors.                 )                    (Jointly Administered)
                                      )
                                      )
                                      )
  24 HOUR FITNESS WORLDWIDE, INC.,    )
                                      )
             Plaintiff,               )
                                      )
  v.                                  )
                                      )                    Adv. Proc. No. 20-51051 (TMH)
  CONTINENTAL CASUALTY COMPANY;       )
  ENDURANCE AMERICAN SPECIALTY        )
  INSURANCE COMPANY; STARR SURPLUS )
  LINES INSURANCE COMPANY; ALLIANZ )
  GLOBAL RISKS US INSURANCE           )
  COMPANY; LIBERTY MUTUAL             )
  INSURANCE COMPANY; BEAZLEY-         )
  LLOYD’S SYNDICATES 2623/623; ALLIED )
  WORLD NATIONAL ASSURANCE            )
  COMPANY; QBE SPECIALTY INSURANCE )
  COMPANY; and GENERAL SECURITY       )
  INDEMNITY COMPANY OF ARIZONA,       )
                                      )
             Defendants.              )
                                      )


                                      NOTICE OF SERVICE

          PLEASE TAKE NOTICE that the undersigned hereby certifies that on the 10th day of

November, 2023, I electronically filed the following documents with Clerk of the Court using the

CM/ECF system that will send notifications of such filings to all counsel of record.

          •   Defendant Allied World National Assurance Company’s Motion for Summary Judgment
              and Incorporated Memorandum of Law Regarding the Pollution Policy [D.I. 239]; and

          •   Defendant Allied World National Assurance Company’s Supplemental Appendix in
              Support of its Motion for Summary Judgment and Incorporated Memorandum of Law
              [D.I. 236].
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Dated: November 14, 2023

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